             IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
                      1:19-cr-00121-MR-WCM

UNITED STATES OF AMERICA,                 )
                  Plaintiff,              )
                                          )
vs.                                       )
                                          )
SHAWN LEE NELSON,                         )
                         Defendant,       )
and                                       )
                                          )
WAFFLE HOUSE, INC.,                       )
                   Garnishee.             )

                 WRIT OF CONTINUING GARNISHMENT

GREETINGS TO: Waffle House, Inc.
              Attention: Payroll
              P. O. Box 6450
              Norcross, Georgia 30091

      An Application for a Writ of Continuing Garnishment against property

of Shawn Lee Nelson, the Defendant, has been filed with this Court (Doc. No.

6). A judgment has been entered against the Defendant (Doc. No. 1-2). The

Clerk of Court current total is $247,356.81, computed through October 19,

2021, and is due and owing.

      You, as the Garnishee, are required by law to answer in writing, under

oath, within ten (10) days of service of this Writ, whether or not you have in

your custody, control or possession, any property or funds owned by the

Defendant, including non-exempt, disposable earnings.



      Case 1:19-cr-00121-MR-WCM Document 8 Filed 10/21/21 Page 1 of 5
      You must withhold and retain any property in which the Defendant has

a substantial non-exempt interest and for which you are or may become

indebted to the Defendant pending further order of the Court. This means that

you should withhold twenty-five percent of the Defendant’s disposable

earnings which remain after all deductions required by law have been

withheld, or the amount by which the Defendant’s disposable earnings for each

week exceed 30 times the federal minimum wage, whichever is less. See 15

U.S.C. §1673(a).

      Please state whether or not you anticipate paying the Defendant any

future payments and whether such payments are weekly, bi-weekly, monthly,

annually or bi-annually.

      You must file the original written Answer to this Writ within ten (10)

days of your receipt of this Writ with the following office:

                   Clerk of the United States District Court
                             401 West Trade Street
                       Charlotte, North Carolina 28202

      Additionally, you are required by law to serve a copy of the Answer upon

the Defendant at the Defendant’s last known address:

                              Shawn Lee Nelson
                                 XXXXXXXXX
                         Arden, North Carolina XXXXX

      You are also required to serve a copy of the Answer upon the Plaintiff at

the following address:



      Case 1:19-cr-00121-MR-WCM Document 8 Filed 10/21/21 Page 2 of 5
                          Financial Litigation Unit
                       United States Attorney’s Office
                      227 West Trade Street, Suite 1650
                       Charlotte, North Carolina 28202

      Under the law, there is property which may be exempt from this Writ of

Garnishment. Property which is exempt and which is not subject to this order

may be listed on the attached Claim for Exemption form.

      Pursuant to 15 U.S.C. §1674, you, the Garnishee, are prohibited from

discharging the Defendant from employment by reason of the fact that his

earnings have been subject to garnishment for any one indebtedness.

      Pursuant to 28 U.S.C. §3205(c)(6), if you fail to answer this Writ or

withhold property or funds in accordance with this Writ, the United States of

America may petition the Court for an order requiring you to appear before the

Court to answer the Writ and to withhold property before the appearance date.

If you fail to appear, or do appear and fail to show good cause why you failed

to comply with this Writ, the Court shall enter a judgment against you for the

value of the Defendant’s non-exempt interest in such property. The Court may

award a reasonable attorney’s fee to the United States and against you if the

Writ is not answered within the time specified. It is unlawful to pay or deliver

to the Defendant any item attached by this Writ.

                                         Signed: October 21, 2021




      Case 1:19-cr-00121-MR-WCM Document 8 Filed 10/21/21 Page 3 of 5
               CLAIM FOR EXEMPTION FORM
    MAJOR EXEMPTIONS UNDER FEDERAL LAW (18 U.S.C. § 3613)

_____1.   Wearing apparel and school books.--Such items of wearing apparel
          and such school books as are necessary for the debtor or for
          members of his family.

_____2.   Fuel, provisions, furniture, and personal effects.--So much of the
          fuel, provisions, furniture, and personal effects in the Debtor’s
          household, and of the arms for personal use, livestock, and poultry
          of the debtor, as does not exceed $9,790 in value.

_____3.   Books and tools of a trade, business, or profession.--So many of the
          books, and tools necessary for the trade, business, or profession of
          the debtor as do not exceed in the aggregate $4,890 in value.

_____4.   Unemployment benefits.--Any amount payable to an individual
          with respect to his unemployment (including any portion thereof
          payable with respect to dependents) under an unemployment
          compensation law of the United States, of any State, or of the
          District of Columbia or of the Commonwealth of Puerto Rico.

_____5.   Undelivered mail.--Mail, addressed to any person, which has not
          been delivered to the addressee.

_____6.   Certain annuity and pension payments.--Annuity or pension
          payments under the Railroad Retirement Act, benefits under the
          Railroad Unemployment Insurance Act, special pension payments
          received by a person whose name has been entered on the Army,
          Navy, Air Force, and Coast Guard Medal of Honor roll (38 U.S.C.
          1562), and annuities based on retired or retainer pay under
          Chapter 73 of Title 10 of United States Code.

_____7.   Workmen’s Compensation.--Any amount payable with respect to
          compensation (including any portion thereof payable with respect
          to dependents) under a workmen’s compensation law of the United
          States, any State, the District of Columbia, or the Commonwealth
          of Puerto Rico.

_____8.   Judgments for support of minor children.--If the debtor is required
          by judgment of a court of competent jurisdiction, entered prior to
          the date of levy, to contribute to the support of his minor children,
          so much of his salary, wages, or other income as is necessary to
          comply with such judgment.

     Case 1:19-cr-00121-MR-WCM Document 8 Filed 10/21/21 Page 4 of 5
_____9.     Certain service-connected disability payments.-- Any amount
            payable to an individual as a service-connected (within the
            meaning of section 101(16) of Title 38, United States Code)
            disability benefit under--(A) subchapter II, III,IV, V, or VI of
            Chapter 11 of such Title 38 or (B) Chapter 13, 21, 23, 31, 32, 34,
            35,37, or 39 of such Title 38.

_____10.    Assistance under Job Training Partnership Act.
            --Any amount payable to a participant under the Job Training
            Partnership Act (29 U.S.C. 1501 et seq.) from funds appropriated
            pursuant to such Act.

The statements made in this claim of settlement to exemptions and request for
hearing as to exemption entitlement and fair market value of the property or
funds designated are made and declared under penalty of perjury that they are
true and correct.

      I hereby request a Court hearing to decide the validity of my claims.
Notice of the hearing should be given to me by mail at:


(_______________________________________________________________)
      Address


or telephonically at (_____)______________
                 Phone No.


________________________________
Defendant’s printed or typed name


________________________________
Signature of the defendant       Date




      Case 1:19-cr-00121-MR-WCM Document 8 Filed 10/21/21 Page 5 of 5
